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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Newport News Division

  JAMES T. PARKER, II and
  DEBRA L. PARKER,

                 Plaintiffs

  V.                                                    CIVIL NO. 4:16-cv-156


  FREEDOM MORTGAGE CORPORATION,
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  TRANS UNION LLC., and EQUIFAX
  INFORMATION SERVICES, LLC,

                 Defendants,

                                                DISMISSAL ORDER


         THIS DAY CAME ihc Plaintiffs, JAMES T. PARKER and DEBRA L. PARKER, and

  the Defendants FREEDOM MORTGAGE CORPORATION, EXPERIAN INFORMATION

  SOLUTIONS, INC., TRANS UNION LLC., and EQUIFAX INFORMATION SERVICES,

  LLC. by counscl, and hereby moves the Court to dismiss with prejudice all claims against the

  Delendants, in the above-styled action.

         All parties ihai have entered an appearance stipulate to its dismissal, with the court

  retaining jurisdiction for the purpose of enforcing the settlement of the matter.

         UPON CONSIDERATION, of the representations of counscl and for other good cause

  shown, i( is ORDERED, ADJUDGED, and DECREED that the Complaint against Defendants, is

  DISMISSED with prejudice.

         Let the Clerk of the Court send copics of this Order to all counsel
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         Entered this 0_ day of               • 2017.     Mark S. Davis
                                                          United States District Judgo

                                                               JUDGE
